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 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
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11    CLEMENT GRAY, individually, and on        Case No. 2:20-cv-07865-JFW-JCx
      behalf others similarly situated
12                                              Assigned to Hon. John F. Walter
                     Plaintiff,
13                                              JUDGMENT IN FAVOR OF
               vs.                              DEFENDANTS MARATHON
14                                              PETROLEUM LOGISTICS
      MARATHON PETROLEUM LOGISTICS              SERVICES LLC, MARATHON
15    SERVICES, LLC, a limited liability        PETROLEUM COMPANY LP,
      company; MARATHON PETROLEUM               ANDEAVOR LOGISTICS LP,
16    COMPANY, LP; a limited partnership;       AND TESORO REFINING &
      ANDEAVOR LOGISTICS, LP, a limited         MARKETING COMPANY LLC
17    partnership; TESORO REFINING &            AND AGAINST PLAINTIFF
      MARKETING COMPANY, LLC, a                 CLEMENT GRAY
18    limited liability company,
19                   Defendants.                Date:      October 4, 2021
                                                Time:      1:30 p.m.
20                                              Courtroom: 7A
21                                              Action Filed:                 6/15/2020
                                                Pre-Trial Conference Date:    11/12/2021
22                                              Trial Date:                   12/7/2021
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                                   [PROPOSED] JUDGEMENT
      76634590v.1
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 1             Plaintiff Clement Gray (“Plaintiff”) brought the present class and representative
 2    action against Defendants Marathon Petroleum Logistics Services LLC, Marathon
 3    Petroleum Company LP, Andeavor Logistics LP and Tesoro Refining & Marketing
 4    Company LLC (“Defendants”). Plaintiff’s operative Second Amended Complaint alleges
 5    causes of action for: (1) failure to provide meal periods; (2) failure to provide rest
 6    periods; (3) failure to provide overtime wages; (4) failure to pay minimum wages; (5)
 7    failure to pay all wages due to discharged and quitting employees; (6) failure to maintain
 8    required payroll records; (7) failure to furnish accurate itemized wage statements; (8)
 9    failure to indemnify employees for necessary expenditures; (9) unfair and unlawful
10    business practices; and (10) penalties under the Private Attorneys General Act.
11             The Court dismissed without leave to amend Plaintiff’s first, second, and third
12    causes of action for failure to provide meal periods, failure to provide rest periods, and
13    failure to pay overtime wages, respectively, on January 12, 2021. (Dkt. 43.) On July,
14    2021, the Court dismissed with prejudice Plaintiff’s class action allegations. (Dkt. 65.)
15             On September 3, 2021, Defendants filed a Motion for Summary Judgment to
16    Plaintiff’s remaining claims, which came on for hearing before this Court on October 4,
17    2021. After considering the moving and opposing papers and all supporting evidence,
18    arguments of counsel, and all other matters presented to the Court, IT IS HEREBY
19    ORDERED, ADJUDGED, AND DECREED THAT:
20             1.    Defendants’ Motion for Summary Judgment is GRANTED.
21             2.    Plaintiff’s Second Amended Complaint is DISMISSED WITH
22    PREJUDICE.
23             3.    Plaintiff takes nothing from Defendants, the action is dismissed in its
24    entirety, and Defendants may submit a cost bill in accordance with the requirements of
25    law.
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                                       [PROPOSED] JUDGMENT
      76634590v.1
     Case 2:20-cv-07865-JFW-JC Document 80 Filed 10/26/21 Page 3 of 3 Page ID #:1394



 1             4.   Judgement is entered in favor of Defendants and against Plaintiff on the
 2    Second Amended Complaint.
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 4           October 26, 2021
      DATED: _______________
                                             HONORABLE JOHN F. WALTER
 5                                           UNITED STATES DISTRICT COURT JUDGE
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                                     [PROPOSED] JUDGMENT
      76634590v.1
